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Of Attorneys for Plaintiff


                         IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF OREGON

                                     PORTLAND DIVISION

 MELVIN BROADOUS,                                                     Civil Case No. 21-CV-00771-AC

                                          Plaintiff,
        vs.                                                       FIRST AMENDED COMPLAINT

 NICHOLAS MORALES, JOHN DOE, and                         (Civil Rights Claims under 42 U.S.C. § 1983
 CITY OF PORTLAND, an Oregon municipal                                 and Common Law Negligence)
 corporation,
                                                                    DEMAND FOR A JURY TRIAL
                                       Defendants.


                                      I. INTRODUCTION

       1.       Pursuant to 42 U.S.C. § 1983 and Oregon common-law, Plaintiff alleges the

deprivation of his rights as protected by state and federal constitutions and statutes, and

negligence. He seeks damages and equitable remedies, including attorney fees and litigation

expenses/costs, including expert witness fees and expenses in an amount to be determined by a


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jury at trial.

                                II. JURISDICTION AND VENUE

        2.       This court has jurisdiction under 28 U.S.C. § 1331, 28 U.S.C. § 1343 and 28

U.S.C. § 1367 because plaintiff asserts a cause of action arising under the Constitution, laws, or

treaties of the United States. The court has supplemental jurisdiction of Plaintiff’s state law

claims under 28 U.S.C. § 1367.

        3.       Venue is in the District of Oregon pursuant to 28 U.S.C. § 1391(b) because the

claims arose in this judicial district.

        4.       Plaintiff provided defendant notice of his state law claims for money damages and

has thereby satisfied the requirements of the Oregon Tort Claims Act, as specified in ORS

30.275(3)(c).

                                              III. PARTIES

        5.       At all materials times herein, Plaintiff MELVIN BROADOUS (“Broadous”) is a

resident of Portland, Oregon.

        6.       At all materials times herein, Defendants Nicholas Morales (“Morales”) and his

partner John Doe (“Doe”), were police officers with the Portland Police Bureau (“PPB”).

        7.       Defendants Morales and Doe’s actions alleged herein were undertaken in the

regular course of employment for Defendant City of Portland.

        8.       Defendants Morales and Doe are being sued in their individual and official

capacities.

        9.       At all materials times herein, Defendant City of Portland (“the City”) is a

municipal corporation charged with and responsible for appointing and promoting, through the

City Manager, the members of the PPB and for the supervision, training, instruction, discipline,



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control and conduct of the PPB and its personnel.

       10.      At all materials times herein, Defendant the City had the power, right and duty to

control the way Defendants Morales and Doe carried out employment objectives and to see that

all orders, rules, instructions, and regulations promulgated for the Portland Police Bureau were

consistent with the laws of the municipality and the Constitution.

                                           IV. FACTS

       11.      On August 16, 2020, Mr. Broadous’s neighbor called him to report an active

burglary taking place at his residence.

       12.      While in route to his dwelling, Mr. Broadous spoke with Defendant Morales who

stated that he and Defendant Doe had cleared his home and that the threat no longer existed.

       13.      When Mr. Broadous asked Defendant Morales to wait for him to return to his

home before departing, Defendant Morales, declined repeating his assurance to Mr. Broadous

that his home had been cleared.

       14.      Upon arrival, Mr. Broadous found the burglar leaving through his bedroom

window, with Mr. Baodous’s stolen merchandise in hand. A chase ensued which resulted in

severe injuries to the Mr. Broadous. There was also an altercation where Mr. Broadous was

repeatedly assaulted with his tripod stand by the burglar. As a result, Mr. Broadous suffered

multiple injuries including—but not limited to—a torn right rotator cuff that now needs surgery.

                                FIRST CLAIM FOR RELIEF
                                       42 U.S.C. § 1983
                                   Substantive Due Process
                               Fourteenth Amendment Violation
                              Against Defendants Morales and Doe

       15.      Mr. Broadous incorporates paragraphs 1 through 14 as if fully set forth herein.

       16.      At all times material herein, Defendants Morales and Doe were acting under color



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of State Law.

          17.      Mr. Broadous requested Defendants to remain at his home until he arrived for his

safety.

          18.      Defendants assured Mr. Broadous that they had “cleared” his home of the burglar

prior to his arrival to his residence.

          19.      Mr. Broadous was entitled to rely on Defendants’ assurances that he was safe to

return to and enter his home.

          20.      Defendants willfully failed to make efforts to ensure that it was safe for Mr.

Broadous to enter his home.

          21.      Defendants were aware that there was a burglar in Mr. Broadous’s home prior to

his arrival home.

          22.      Mr. Broadous entered his home based on Defendants’ assurances that it was safe

to do so.

          23.      It was obvious to Defendants that Mr. Broadous would be placed in danger if they

had failed to actually “clear” his home of the burglar as they claimed.

          24.      It was foreseeable to Defendants that Mr. Broadous could be in danger based on

their failure to “clear” his home of the burglar prior to his arrival home.

          25.      Defendants’ failure to have “cleared” Mr. Broadous home of the burglar prior to

his arrival shows a conscious disregard for the risk they placed Mr. Broadous in.

          26.      Defendants’ failure to properly “clear” Mr. Broadous home of the burglar, despite

assuring him to the contrary, is shocking to the conscious.

          27.      It was foreseeable that Defendants’ failure to properly “clear” Mr. Broadous home

of the burglar, despite assuring him to the contrary, would result in a deprivation of Mr.



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Broadous’s substantive due process rights as guaranteed by the Fourteenth Amendment.

       28.      Defendants’ assurances to Mr. Broadous that it had “cleared” his home prior to

his arrival was a direct result of Mr. Broadous subsequent injuries.

       29.      As a direct and proximate result of Defendants’ unlawful acts, Mr. Broadous

suffered economic damages in the form of charges incurred for medical, rehabilitative and other

health care services, and prejudgment interest in an amount to be determined at trial.

       30.      As a direct and proximate result of Defendants’ unlawful acts, Mr. Broadous has

suffered outrage, betrayal, offense, indignity, embarrassment, humiliation, injury and insult in

amounts to be determined by the jury at trial.

       31.      As a direct and proximate result of Defendants’ unlawful acts, Mr. Broadous

suffered and continues to suffer from the loss of enjoyment of activities such as gardening,

golfing, mowing the lawn, and basic intimacy, to his noneconomic damage, past and future, in

the amount of $500,000.00.

       32.      As a direct and proximate result of Defendants’ unlawful acts, Mr. Broadous

suffered and continues to suffer from pain which prevents him from lifting his arm and can only

be managed by painkillers taken three times a day, to his noneconomic damage, past and future,

in the amount of $500,000.00.

       33.      As a direct and proximate result of Defendants’ unlawful acts, Mr. Broadous

suffered and continues to suffer from lost range of motion and a reduction in strength, and will

need continued care for his injuries, to his noneconomic damage, past and future, in the amount

of $500,000.00.

       34.      As a direct and proximate result of Defendants’ unlawful acts, Mr. Broadous

suffered and continues to suffer from anxiety to his noneconomic damage, past and future, in the



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amount of $500,000.00.

       35.     Defendants’ conduct toward Mr. Broadous demonstrated a wanton, reckless or

callous indifference to the constitutional rights of Mr. Broadous, which warrants an imposition of

punitive damages in such amounts as the jury may deem appropriate to deter future violations.

       36.     Mr. Broadous seeks recovery of all other equitable relief and punitive damages as

provided by law, in addition to reimbursement of her reasonable attorneys’ fees and costs

pursuant to 42 USC § 1988 and 28 USC §1927, if appropriate.

                                SECOND CLAIM FOR RELIEF
                                      42 U.S.C. § 1983
                                   Deliberate Indifference
                                   Fourteenth Amendment
                                   Against Defendant City

       37.     Mr. Broadous incorporates paragraphs 1 through 36 as if fully set forth herein.

       38.     Defendant failed to train Defendants Morales and Doe on how to properly secure,

check and clear Mr. Broadous’s home upon a report of a burglar prior to allowing Mr. Broadous

to return and enter his home.

       39.     Defendant failed to train Defendant Morales and Doe to not inform Mr. Broadous

to return to and enter his home without properly securing, checking and clearing his home after

receiving a call of a burglar therein.

       40.     Defendant failed to train Defendant Morales and Doe to not allow Mr. Broadous

to return to and enter his home without properly securing, checking and clearing his home after

receiving a call of a burglar therein.

       41.     Defendant’s failure to train Defendant Morales and Doe evidences a deliberate

indifference to Mr. Broadous’s substantive due process rights as guaranteed by the Fourteenth

Amendment.



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       42.      It was foreseeable that Defendant’s failures to train Defendants Morales and Doe

would result in a deprivation of Mr. Broadous’s substantive due process rights as guaranteed by

the Fourteenth Amendment.

       43.      As a direct and proximate result of Defendant’s failures, Mr. Broadous suffered

economic damages in the form of charges incurred for medical, rehabilitative and other health

care services, and prejudgment interest in an amount to be determined at trial.

       44.      As a direct and proximate result of Defendant’s failures, Mr. Broadous has

suffered outrage, betrayal, offense, indignity, embarrassment, humiliation, injury and insult in

amounts to be determined by the jury at trial.

       45.      As a direct and proximate result of Defendant’s failures, Mr. Broadous suffered

and continues to suffer from the loss of enjoyment of activities such as gardening, golfing,

mowing the lawn, and basic intimacy, to his noneconomic damage, past and future, in the

amount of $500,000.00.

       46.      As a direct and proximate result of Defendant’s failures, Mr. Broadous suffered

and continues to suffer from pain which prevents him from lifting his arm and can only managed

by painkillers taken three times a day, to his noneconomic damage, past and future, in the

amount of $500,000.00.

       47.      As a direct and proximate result of Defendant’s failures, Mr. Broadous suffered

and continues to suffer from lost range of motion and a reduction in strength, and will need

continued care for his injuries, to his noneconomic damage, past and future, in the amount of

$500,000.00.

       48.      As a direct and proximate result of Defendant’s failures, Mr. Broadous suffered

and continues to suffer from anxiety to his noneconomic damage, past and future, in the amount



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of $500,000.00.

        49.     As a direct and proximate result of Defendant’s failures, Mr. Broadous suffered

economic damages in the form of charges incurred for medical, rehabilitative and other health

care services, and prejudgment interest in an amount to be determined at trial.

        50.     Defendant’s conduct toward Mr. Broadous demonstrated a wanton, reckless or

callous indifference to the constitutional rights of Mr. Broadous, which warrants an imposition of

punitive damages in such amounts as the jury may deem appropriate to deter future violations.

        51.     Mr. Broadous seeks recovery of all other equitable relief and punitive damages as

provided by law, in addition to reimbursement of her reasonable attorneys’ fees and costs

pursuant to 42 USC § 1988 and 28 USC §1927, if appropriate.

                                 THIRD CLAIM FOR RELIEF
                                         State Claim
                                         Negligence
                                    Against all Defendants

        52.     Mr. Broadous incorporates paragraphs 1 through 51 as if fully set forth herein.

        53.     Defendant Morales and Doe assured Mr. Broadous that it was safe to return to his

home.

        54.     Mr. Broadous relied on Defendants’ assurances that his home had been secured,

checked and cleared and was safe to return too.

        55.     Mr. Broadous’s reliance on Defendant Morales and Doe’s assurances created a

special relationship between Defendants and Mr. Broadous.

        56.     It is reasonable that Defendant City should have implemented and trained its

Police Officers on how to properly control, secure, and respond to burglaries.

        57.     Defendants Morales and Doe failed to properly carryout their legal duty when




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they strayed from established police protocol. Considering the associated risks involved, the

Defendants’ conduct was unreasonable.

       58.     Defendant City failed to implement and train Defendants Morales and Doe on

how to properly control, secure, and respond to burglaries. Considering the associated risks

involved, the Defendant’s conduct was unreasonable.

       59.     It was a foreseeable risk of harm that failing to properly check and secure Mr.

Broadous’s home, and not allow him to return to it until it was safe, would result in the type of

injuries suffered by Mr. Broadous.

       60.     Defendant Morales and Doe’s failure to properly secure, check, control and clear

the home was a direct and proximate cause of Mr. Broadous ‘s injuries.

       61.     Defendant City’s failure to implement and train Defendants Morales and Doe on

how to properly secure, check, control, clear and respond to burglaries was a direct and

proximate cause of Mr. Broadous ‘s injuries.

       62.     Mr. Broadous was injured when the Defendants failed to properly secure the

property. Thus, Defendants’ conduct was an actual cause of Mr. Broadous’s injuries.

       63.     Defendants are jointly and severally liable for Mr. Broadous’s damages.

       64.     As a result of Defendants’ negligence, Plaintiff has suffered physical and

psychological pain and suffering, emotional pain and suffering, mental pain and suffering,

anxiety and terror, in amounts to be determined at trial.

       65.     As a direct and proximate result of Defendants’ negligence, Mr. Broadous

suffered economic damages in the form of charges incurred for medical, rehabilitative and other

health care services, and prejudgment interest in an amount to be determined at trial.

      WHEREFORE, Plaintiff prays for judgment against Defendants as follows:



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       1.      Economic damages in the form of charges incurred for medical, rehabilitative and

other health care services, and prejudgment interest in an amount to be determined at trial;

       2.      Non-economic damages consistent with the claims above against Defendants in

amounts to be determined at trial;

       3.      All available equitable relief and damages in amounts to be determined at trial,

consistent with the claims above against Defendants;

       4.      Punitive damages consistent with the claims above against Defendants in amounts

to be determined at trial;

       5.      Reasonable attorneys’ fees and litigation expenses/costs herein, including expert

witness fees and expenses, consistent with the claims above against defendants; and

       6.      Grant such other relief as is just and proper.

DATED this 25th day of May, 2021.

                                                       WARREN & SUGARMAN

                                                       ___/S/ ERNEST WARREN______
                                                       Ernest Warren, Jr., OSB No. 891384
                                                       e.warren@warrenpdxlaw.com
                                                       Attorney for Plaintiff

PLAINTIFF HEREBY DEMANDS A JURY TRIAL




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                                 CERTIFICATE OF SERVICE

      I hereby certify that I have served First Amended Complaint in the attached matter

upon the parties listed below by notice of electronic filing using the CM/ECF System as
follows:
Ryan C. Bailey, OSB Bar#130788
City of Portland
City Attorney's Office
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Portland, OR 97204
Phone: (503)823-9968
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ryan.bailey@portlandoregon.gov

and filed the original with the Court on the date listed below.

DATED this 25th day May, 2021.

                                               WARREN & SUGARMAN


                                               /s/ Ernest Warren, Jr
                                               ___________________________________
                                               Ernest Warren, Jr. OSB No. 891384
                                               Attorney for Plaintiff




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